Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 1 of 38 Page ID #:3147




                          Exhibit 3
05-DDP-SK Document 83-2 Filed 01/24/22 Page 2 of 38




                      Exhibit 3
                        655
305-DDP-SK Document 83-2 Filed 01/24/22 Page 3 of 38




                       Exhibit 3
                         656
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 4 of 38 Page ID #:3150




                                                                HEALTHVANA001389

                                     Exhibit 3
                                       657
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 5 of 38 Page ID #:3151




                                                                HEALTHVANA001390
                                     Exhibit 3
                                       658
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 6 of 38 Page ID #:3152




                                                                HEALTHVANA001391
                                     Exhibit 3
                                       659
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 7 of 38 Page ID #:3153




                                                                HEALTHVANA001392
                                     Exhibit 3
                                       660
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 8 of 38 Page ID #:3154




                                                                HEALTHVANA001393
                                     Exhibit 3
                                       661
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 9 of 38 Page ID #:3155




                                                                HEALTHVANA001394
                                     Exhibit 3
                                       662
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 10 of 38 Page ID
                                 #:3156




                                                             HEALTHVANA001395
                                  Exhibit 3
                                    663
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 11 of 38 Page ID
                                 #:3157




                                                             HEALTHVANA001396
                                  Exhibit 3
                                    664
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 12 of 38 Page ID
                                 #:3158




                                                             HEALTHVANA001397
                                  Exhibit 3
                                    665
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 13 of 38 Page ID
                                 #:3159




                                                             HEALTHVANA001398
                                  Exhibit 3
                                    666
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 14 of 38 Page ID
                                 #:3160




                                                             HEALTHVANA001399
                                  Exhibit 3
                                    667
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 15 of 38 Page ID
                                 #:3161




                                                             HEALTHVANA001400
                                  Exhibit 3
                                    668
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 16 of 38 Page ID
                                 #:3162




                                                             HEALTHVANA001401
                                  Exhibit 3
                                    669
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 17 of 38 Page ID
                                 #:3163




                                                             HEALTHVANA001402
                                  Exhibit 3
                                    670
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 18 of 38 Page ID
                                 #:3164




                                                             HEALTHVANA001403
                                  Exhibit 3
                                    671
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 19 of 38 Page ID
                                 #:3165




                                                             HEALTHVANA001404
                                  Exhibit 3
                                    672
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 20 of 38 Page ID
                                 #:3166




                                                             HEALTHVANA001405
                                  Exhibit 3
                                    673
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 21 of 38 Page ID
                                 #:3167




                                                             HEALTHVANA001406
                                  Exhibit 3
                                    674
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 22 of 38 Page ID
                                 #:3168




                                                             HEALTHVANA001407
                                  Exhibit 3
                                    675
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 23 of 38 Page ID
                                 #:3169




                                                             HEALTHVANA001408
                                  Exhibit 3
                                    676
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 24 of 38 Page ID
                                 #:3170




                                                             HEALTHVANA001409
                                  Exhibit 3
                                    677
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 25 of 38 Page ID
                                 #:3171




                                                             HEALTHVANA001410
                                  Exhibit 3
                                    678
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 26 of 38 Page ID
                                 #:3172




                                                             HEALTHVANA001411
                                  Exhibit 3
                                    679
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 27 of 38 Page ID
                                 #:3173




                                                             HEALTHVANA001412
                                  Exhibit 3
                                    680
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 28 of 38 Page ID
                                 #:3174




                                                             HEALTHVANA001413
                                  Exhibit 3
                                    681
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 29 of 38 Page ID
                                 #:3175




                                                             HEALTHVANA001414
                                  Exhibit 3
                                    682
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 30 of 38 Page ID
                                 #:3176




                                                             HEALTHVANA001415
                                  Exhibit 3
                                    683
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 31 of 38 Page ID
                                 #:3177




                                                             HEALTHVANA001416
                                  Exhibit 3
                                    684
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 32 of 38 Page ID
                                 #:3178




                                                             HEALTHVANA001417
                                  Exhibit 3
                                    685
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 33 of 38 Page ID
                                 #:3179




                                                             HEALTHVANA001418
                                  Exhibit 3
                                    686
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 34 of 38 Page ID
                                 #:3180




                                                             HEALTHVANA001419
                                  Exhibit 3
                                    687
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 35 of 38 Page ID
                                 #:3181




                                                             HEALTHVANA001420
                                  Exhibit 3
                                    688
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 36 of 38 Page ID
                                 #:3182




                                                             HEALTHVANA001421
                                  Exhibit 3
                                    689
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 37 of 38 Page ID
                                 #:3183




                                                             HEALTHVANA001422
                                  Exhibit 3
                                    690
Case 2:20-cv-04305-DDP-SK Document 83-2 Filed 01/24/22 Page 38 of 38 Page ID
                                 #:3184




                                                             HEALTHVANA001423
                                  Exhibit 3
                                    691
